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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Greenbelt Division)

In re:                                            :
                                                  :
CARLEEN N. DICKERSON,                             :   Case No. 19-1-5998-LS
                                                  :   Chapter 13
                               Debtor.            :
                                                  :

                         TRUSTEE’S OBJECTION TO DEBTOR’S
                        CHAPTER 13 PLAN DATED MAY 29, 2019
                     _____________________________________________

         Timothy P. Branigan, Chapter 13 trustee in the above-captioned case (“Trustee”), pursuant

to section 1325 of the Bankruptcy Code and Bankruptcy Rule 3015(f) objects to confirmation of

the Debtor’s Chapter 13 plan dated May 29, 2019 (the “Plan”). In support of his opposition, the

Trustee respectfully represents the following:

         1.     The Debtor commenced this case under Chapter 13 on May 2, 2019. The Plan

proposes to pay $900.00 monthly for 60 months for a gross funding of $54,000.00.

         2.     The Plan fails to provide that all of the Debtor’s projected disposable income

reflected on Schedule J will be applied to make payments to unsecured creditors under the Plan.

         3.     The Debtor’s Form 122C reflects that the Debtor has excess monthly income of

$7,992.25. The Plan fails to provide that all of the Debtor’s projected disposable income will be

applied to make payments to unsecured creditors under the Plan. The Plan does not satisfy the

requirements of section 1325(b)(1)(B) of the Bankruptcy Code.

         4.     The Debtor has failed to provide the Domestic Support Obligation Affidavit and

proof of adjusted income tax withholdings as requested by the Trustee. At this time, the Debtor

has failed to fully cooperate with the Trustee as required under section 521(a)(3) of the Bankruptcy

Code.
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        5.      It appears that the Plan must provide a 100% payment to unsecured creditors. The

Plan proposes funding sufficient to provide a distribution of approximately 38% to unsecured

creditors. The Plan does not satisfy the requirements of section 1325(a)(4) of the Bankruptcy

Code.

        6.      The Debtor has not adequately proved ownership and the market value of scheduled

real property. The Plan does not satisfy the requirements of section 1325(a)(4) of the Bankruptcy

Code.

        7.      Accordingly, the Plan should not be confirmed



PLEASE TAKE NOTICE THAT THIS OBJECTION MUST BE RESOLVED AT LEAST 2

BUSINESS DAYS PRIOR TO THE CONFIRMATION HEARING. AFTER THAT TIME, THE

TRUSTEE MAY DECLINE TO ACCEPT MATERIALS THAT HE HAS REQUESTED FROM

THE DEBTORS.         THE TRUSTEE MAY DECLINE TO DISCUSS THE CASE AT THE

CONFIRMATION HEARING.                 THE DEBTORS SHOULD EXPECT THAT ANY

UNRESOLVED OBJECTION WILL BE HEARD BY THE COURT.

                                                    Respectfully submitted,


June 25, 2019                                       /s/ Timothy P. Branigan
                                                    Timothy P. Branigan (Fed. Bar No. 06295)
                                                    Chapter 13 Trustee
                                                    9891 Broken Land Parkway, #301
                                                    Columbia, Maryland 21046
                                                    (410) 290-9120




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                                      Certificate of Service

       I hereby certify that the following persons are to be served electronically via the CM/ECF
system:

Richard B. Rosenblatt, Esquire

I caused a copy of the pleading above to be sent on June 25, 2019 by first-class U.S. mail, postage
prepaid to:

Carleen N. Dickerson
16326 Elkhorn Lane
Bowie, MD 20716

                                                 /s/ Timothy P. Branigan
                                                 Timothy P. Branigan (Fed. Bar No. 06295)




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